                     Case 4:19-cv-07123-PJH Document 89 Filed 06/05/20 Page 1 of 1
                                                                                                                           Reset Form

CAND Pay.gov Application for Refund (rev. 10/19)


                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
                 APPLICATION FOR REFUND (USDC-CAND PAY.GOV)

                                        PAY.GOV TRANSACTION DETAILS
IMPORTANT:
  Complete all required fields (shown in red*); otherwise, your request may be denied and require resubmission.
  In fields 3-6, enter the information for the incorrect transaction (the one for which you are requesting a refund), not the correct
    transaction that appears on the docket. This information can be found in the Pay.gov screen receipt or confirmation email.

 1. Your Name:* Alejandra Palomo                                     7. Your Phone Number: (212) 326-2139
 2. Your Email Address: * apalomo@omm.com                            8. Full Case Number (if applicable): 4:19-cv-7123
 3. Receipt Number:*                         0971-14404516                                        Attorney Admission
                                                                                                  Civil Case Filing
 4. Transaction Date:*                         04/23/2020
                                                                                                  FTR Audio Recording
                                                                     9. Fee Type:*
 5. Transaction Time:*                         4:30 pm                                            Notice of Appeal
                                                                                             
                                                                                             ✔     Pro Hac Vice
 6. Transaction Amount
                                  $ 310.00                                                        Writ of Habeas Corpus
   (Amount to be refunded):*
 10. Reason for Refund Request:* Explain in detail what happened to cause duplicate charges or no fee required.
  For a duplicate charge, provide the correct receipt number in this field.
  If you paid a filing fee in an abandoned case number, note that case number here (but e-file the refund request in the open case).
Duplicate charge. Correct receipt number is 0971-14404736.




     Efile this form using OTHER FILINGS → OTHER DOCUMENTS → APPLICATION FOR REFUND.
View detailed instructions at: cand.uscourts.gov/ecf/payments. For assistance, contact the ECF Help Desk at 1-866-638-7829 or
ecfhelpdesk@cand.uscourts.gov Monday -Friday 9:00 a.m.-4:00 p.m.


                                              FOR U.S. DISTRICT COURT USE ONLY

                        Approved
 Refund request:        Denied
                        Denied ─ Resubmit amended application (see reason for denial)
 Approval/denial date:                                                    Request approved/denied by:
 Pay.gov refund tracking ID refunded:                                     Agency refund tracking ID number: 0971-
 Date refund processed:                                                   Refund processed by:
 Reason for denial (if applicable):


 Referred for OSC date (if applicable):
